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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND


MICHAEL CROPP                                              *
                                 Plaintiff(s)
                                                           *
                        vs.                                              Civil Action No. SAG-21-1717
                                                           *
EQUIFAX INFORMATION
SERVICES, LLC, et al.
                  Defendant(s)                             *

                                                        ******

                                                SETTLEMENT ORDER
                                                 (LOCAL RULE 111)


           This Court has been advised by the parties that the above action has been settled as to

COMENITY BANK, N.A. ONLY, including all counterclaims, cross-claims and third-party

claims, if any. Accordingly, pursuant to Local Rule 111 it is ORDERED that:

           This action is hereby dismissed as to Defendant Comenity Bank, N.A. only, and each

party is to bear its own costs unless otherwise agreed, in which event the costs shall be adjusted

between the parties in accordance with their agreement. The entry of this Order is without

prejudice to the right of a party to move for good cause within 30 days to reopen this action if

settlement is not consummated.                  If no party moves to reopen, the dismissal shall be with

prejudice.




Date: September 20, 2021                                                        /s/
                                                                 Stephanie A. Gallagher
                                                                 United States District Judge



U.S. District Court (Rev. 9/20/2004)
